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                   IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                    Case No. 18-CR-928-MV

ROBERT HAACK,

                               Defendant.

     UNOPPOSED MOTION TO CONTINUE THE JURY TRIAL SETTING,
             AND TO EXTEND THE MOTIONS DEADLINE

       COMES NOW the defendant, Robert Haack, through undersigned counsel, and

hereby respectfully requests that the Court continue the Call of the Calendar, currently set

for September 7, 2018 at 9:30 a.m., and the Jury Trial setting, currently set for September

24, 2018 at 9:00 a.m., and extend the deadline for filing pre-trial motions for a period of

approximately sixty (60) days. In support of this motion, the defendant submits the

following:

       1.      The defendant is charged with two counts of wire fraud, in violation of 18

U.S.C. § 1343; two counts of mail fraud, in violation of 18 U.S.C. § 1341; and two counts

of violating the Indian Arts and Crafts Act, in violation 18 U.S.C. § 1159. A grand jury

indictment was filed against Mr. Haack on March 28, 2018, [Doc. 2], and he was

arraigned on these charges on April 26, 2018. [Doc. 8]

       2.      Counsel for Mr. Haack has received a voluminous amount of initial

discovery from the U.S. Attorney, and requests additional time to meet and confer with

the defendant regarding this evidence. The defendant is currently out of custody, and is



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living in Los Angeles, California. In addition, defense counsel requests additional time

for the purpose of conducting plea negotiations, as the parties anticipate that this case

may be resolved through a negotiated resolution, and without the need for a jury trial.

       3.      Counsel for the Government has also indicated that investigation in this

case was on-going for a long period of time, involving many years, and multiple

individuals. Therefore, a significant amount of additional discovery remains to be

provided to defense counsel in the future, but has not been produced as of the filing of

this motion.

       4.      The parties agree that the requested continuance will not give rise to a

Speedy Trial Act violation. The additional time required by the continuance may

properly be excluded under 18. U.S.C. § 3161(h)(7) on the ground that the ends of justice

served by the continuance outweigh the best interest of the public and the defendant in a

speedy trial. Failure to grant a continuance in this matter could result in a miscarriage of

justice by causing the parties to conduct a trial in a case which may otherwise be resolved

by a plea. In addition, failure to grant a continuance would “deny counsel for the

defendant [and] the attorney for the government the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.” 18 U.S.C. §

3161(h)(7)(B)(iv).

       5.      Counsel for the Government, AUSA Jennifer Rozzoni, was contacted on

August 20, 2018, regarding of the contents of this motion, and is not opposed.

       6.      Mr. Haack is currently out of custody, and is not opposed to the relief

requested in this motion.




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        WHEREFORE, and for the reasons stated above, the defendant respectfully

requests that the Court continue the Call of the Calendar, currently set for September 7,

2018, continue the Jury Trial currently set for September 24, 2018 at 9:00 a.m., and

extend the deadline for filing pre-trial motions, for a period of approximately sixty (60)

days.



                                              Respectfully Submitted,



                                              __electronically signed________________
                                              Benjamin C. Wilson
                                              Attorney for Robert Haack
                                              1412 Lomas Blvd. NW
                                              Albuquerque, NM 87104
                                              (505) 765-5300



I HEREBY CERTIFY that on August 21, 2018, I filed the
foregoing electronically through the CM/ECF system,
which caused the following parties or counsel to be
served by electronic means, as more fully reflected
in The Notice of Electronic Filing:

Jennifer M. Rozzoni
Assistant United States Attorney
201 3rd Street NW, # 900
Albuquerque, NM 87103-0607

     signed____________
Benjamin C. Wilson




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